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                                                                        TOLEDO




                  U.S. V. John Charles Coy
                    Case No.: 3:21CR617


 Government's Exhibits 1 And 2 For Purposes of
                      Sentencing Hearing


 Exhibit 1 - CCNO Jail Call by Inmate John Coy

Exhibit 2- CCNO 2^^ Jail Call by Inmate John Coy




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